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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11   XOCHITL HERNANDEZ, CESAR                 ) Case No. 5:16-00620-JGB-KK
     MATIAS, for themselves and on behalf     )
12   of a class of similarly-situated         ) DISCOVERY MATTER
     individuals,                             )
13                                            )
                 Plaintiffs-Petitioners,      ) [PROPOSED] ORDER GRANTING
14                                            ) PLAINTIFFS’ MOTION TO
                 v.                           )
15                                            ) COMPEL CERTAIN RESPONSES
     JEFF SESSIONS, U.S. Attorney             ) TO PLAINTIFFS’ FIRST SETS OF
16   General, et al.,                         ) REQUESTS FOR PRODUCTION
                                              )
17               Defendants-Respondents.      ) AND INTERROGATORIES
                                              )
18                                            ) Date: December 7, 2017
                                              ) Time: 10:00 a.m.
19                                            ) Judge: The Honorable Kenly Kiya Kato
                                              )
20                                            )
                                              ) Discovery Cutoff Date: Apr. 27, 2018
21                                            ) Pretrial Conf. Date:   Aug. 13, 2018
                                              )
22                                            ) Trial Date:            Aug. 28, 2018
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              [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO COMPEL
Case 5:16-cv-00620-JGB-KK Document 122-3 Filed 11/09/17 Page 2 of 3 Page ID #:2478



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               [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO COMPEL
Case 5:16-cv-00620-JGB-KK Document 122-3 Filed 11/09/17 Page 3 of 3 Page ID #:2479



 1                                   PROPOSED ORDER
 2         The Court has considered the parties’ briefing, evidence, and arguments as well
 3   as the authorities cited in support of their positions. Upon due consideration, the
 4   Court hereby GRANTS Plaintiffs’ Motion to Compel and ORDERS Defendants to
 5   provide complete responses to, and produce all relevant documents requested in: (1)
 6   Plaintiffs’ First Set of Requests for Production of Documents to Defendant
 7   Department of Homeland Security; (2) Plaintiffs’ First Set of Requests for Production
 8   of Documents to Defendant Department of Justice; (3) Plaintiffs’ First Set of
 9   Interrogatories to Defendant Department of Homeland Security; and (4) Plaintiffs’
10   First Set of Interrogatories to Defendant U.S. Department of Justice, without any
11   objections, no later than December ____, 2017.
12
13   DATED: ___________, 2017
                                           THE HONORABLE KENLY KIYA KATO
14                                          UNITED STATES DISTRICT COURT

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              [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO COMPEL
